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  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                     CASE NO. 15CR1961-DMS
 12                                           Plaintiff,             JUDGMENT AND ORDER OF
              vs.                                                    DISMISSAL OF INFORMATION
 13
       RYAN TYRELL HILL(1),
 14
 15                                         Defendant.

 16
             Upon motion of the UNITED STATES OF AMERICA and good cause appearing, the
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      Information in the above entitled case is dismissed without prejudice, the bond is exonerated and, if
 18
      held by U.S. Pretrial Services, Defendant’s passport is to be released to Defendant.
 19
             IT IS SO ORDERED.
 20
             Dated: 1/13/2016           .
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 22
                                                                 ____________________________________
 23                                                              HONORABLE BARBARA L. MAJOR
                                                                 United States Magistrate Judge
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